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     UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT



Everett McKinley Dirksen United States Courthouse                             Office of the Clerk
        Room 2722 - 219 S. Dearborn Street                                   Phone: (312) 435-5850
             Chicago, Illinois 60604                                         www.ca7.uscourts.gov




                                         NOTICE OF DOCKETING - Short Form
 March 6, 2019

 To:         Thomas G. Bruton
             Clerk of Court

 The below captioned appeal has been docketed in the United States Court of Appeals for the
 Seventh Circuit:

                    Appellate Case No: 19-1413

                    Caption:
                    SANDOR DEMKOVICH,
                    Plaintiff - Appellee

                    v.

                    ST. ANDREW THE APOSTLE PARISH CALUMET CITY, et al.,
                    Defendants - Appellants

                    District Court No: 1:16-cv-11576
                    District Judge Edmond E. Chang
                    Clerk/Agency Rep Thomas G. Bruton
                    Date NOA filed in District Court: 03/06/2019


 If you have any questions regarding this appeal, please call this office.
